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          EXHIBIT G
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Charted Claims:

Non-method: 1

             US9369575B2                                         HCL Sametime Application (“The accused instrumentality”)
1. A system for detecting or              A system utilized by the accused instrumentality is a system for detecting or determining any given
determining any given “VoIP (Voice        “VoIP (Voice over internet protocol) location” (e.g., IP address of a user device enabled with Sametime
over internet protocol) location” of      smartphone application) of any “VoIP enabled wireless device registered to the system” (e.g., a user
any “VoIP enabled wireless device         device such as a smartphone enabled with Sametime smartphone application) by extracting any such
registered to the system” by extracting   device's “VoIP address or return path” (e.g., IP address of a user device enabled with Sametime
any such device's “VoIP address or        smartphone application) and storing it and updating it in one or more accessible databases (e.g.,
return path” and storing it and           Sametime smartphone application databases), the system including a server (e.g., Sametime server), a
updating it in one or more accessible     VoIP enabled wireless device registered to the server (e.g., a user device such as a smartphone enabled
databases, the system including a         with Sametime smartphone application) and a software module (e.g., Sametime smartphone
server, a VoIP enabled wireless device    application) downloadable from the server (e.g., Sametime server) to the VoIP enabled wireless device
registered to the server and a software   (e.g., a user device such as a smartphone enabled with Sametime smartphone application).
module downloadable from the server
to the VoIP enabled wireless device,
in which:                                 The system utilized by the accused instrumentality comprises a Sametime server, a user device such as
                                          a smartphone enabled with Sametime smartphone application and Sametime smartphone application.
                                          The Sametime smartphone application can be installed into a user smartphone device. The accused
                                          instrumentality also determines and collects IP address (i.e., VoIP address or VoIP location) of the user
                                          smartphone device.
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      https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US

      The accused instrumentality performs voice calling over IP network.
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      https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US
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      https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US
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      https://www.cwpcollaboration.com/uploads/1/0/2/7/102707030/hcl_factory_tour_4_sametime_v11.pdf




      https://www.hcltechsw.com/wps/portal/legal/privacy
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                                     https://www.hcltechsw.com/wps/portal/legal/privacy

(a) the system is adapted to receive The system utilized by the accused instrumentality is the system which is adapted to receive VoIP
VoIP communications from multiple communications (e.g., voice calling over IP network) from multiple VoIP enabled wireless devices
VoIP enabled wireless devices;       (e.g., user devices such as smartphones enabled with Sametime smartphone application).

                                     The accused instrumentality provides voice calling functionality over IP network between users.




                                     https://www.hcltechsw.com/products/sametime
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      https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US

      The accused instrumentality performs voice calling over IP network.
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       https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US
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       https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US
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       https://www.cwpcollaboration.com/uploads/1/0/2/7/102707030/hcl_factory_tour_4_sametime_v11.pdf
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       https://help.hcltechsw.com/sametime/10.0/config/config_meet_props_proxy_av.html
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       https://help.hcltechsw.com/sametime/10.0/config/config_meet_props_mobile_android.html




       https://help.hcltechsw.com/sametime/10.0/plan/over_server_arch.html
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                                      https://www.routerfreak.com/how-voip-apps-skype-whatsapp-facebook-messenger-work/

(b) the system enables access to The system utilized by the accused instrumentality is the system which enables access to information in
information in one or more databases; one or more databases.

                                      Upon information and belief, when a user initiate a call request for a contact, the system utilized by the
                                      accused instrumentality access one or more databases associated with Sametime server to determine the
                                      user identification and/or device identification corresponding to the called contact. The system
                                      determines the status of the contacted user’s device and forwards the call to the corresponding IP
                                      address associated with the contacted user.

                                      The system updates the user’s activity and log information in the corresponding databases.
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       https://www.hcltechsw.com/products/sametime
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       https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US

       The accused instrumentality performs voice calling over IP network.
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       https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US
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       https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US
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       https://www.cwpcollaboration.com/uploads/1/0/2/7/102707030/hcl_factory_tour_4_sametime_v11.pdf




       https://www.hcltechsw.com/wps/portal/legal/privacy
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                                          https://www.hcltechsw.com/wps/portal/legal/privacy

(c) the system is capable of extracting   The system utilized by the accused instrumentality is the system which is capable of extracting and
and reporting dynamically the “VoIP       reporting dynamically the “VoIP address or return path” (e.g., IP address of a user device enabled with
address or return path” and all           Sametime smartphone application) and all associated information (e.g., all information collected by the
associated information from each          accused instrumentality) from each incoming data communication from any “VoIP enabled wireless
incoming data communication from          device registered to the system” (e.g., a user device such as a smartphone enabled with Sametime
any “VoIP enabled wireless device         smartphone application) into a database(s) associated with each corresponding registered VoIP enabled
registered to the system” into a          wireless device (e.g., a user device such as a smartphone enabled with Sametime smartphone
database(s) associated with each          application) user account.
corresponding      registered     VoIP
enabled wireless device user account;     The accused instrumentality extracts and updates a user device enabled with Sametime smartphone
                                          application’s IP address. The accused instrumentality stores the IP address, call log information, device
                                          identifiers in the databases corresponding to the user.
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       https://www.hcltechsw.com/products/sametime
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       https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US

       The accused instrumentality performs voice calling over IP network.
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       https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US
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       https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US
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       https://www.cwpcollaboration.com/uploads/1/0/2/7/102707030/hcl_factory_tour_4_sametime_v11.pdf




       https://www.hcltechsw.com/wps/portal/legal/privacy
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                                          https://www.hcltechsw.com/wps/portal/legal/privacy

(d) the system is capable of extracting   The accused system utilized by the accused instrumentality is the system which is capable of extracting
a specific “VoIP address or return        a specific “VoIP address or return path” (e.g., an IP address of a user device such as a smartphone
path” and all associated information      enabled with Sametime smartphone application) and all associated information (e.g., device
corresponding to a specific registered    information, hardware information, online status information, etc.) corresponding to a specific
VoIP enabled wireless device user         registered VoIP enabled wireless device user account (e.g., a user device such as a smartphone enabled
account from the system accessible        with Sametime smartphone application) from the system accessible database(s) and communicating
database(s) and communicating with        with each specific VoIP enabled wireless device (e.g., user device of the called contact such as a
each specific VoIP enabled wireless       smartphone enabled with Sametime smartphone application) registered to the system through each
device registered to the system           specific “VoIP address or return path” (e.g., an IP address of the user device of the called contact such
through each specific “VoIP address       as a smartphone enabled with Sametime smartphone application).
or return path”;

                                          The accused instrumentality provides voice calling functionality over IP network between users. The
                                          accused instrumentality extracts and updates IP addresses of the user devices in its databases. The
                                          accused instrumentality enables a user to call a contact by extracting the contacted user’s IP address and
                                          initiating call procedure corresponding to that IP address.
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       https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US

       The accused instrumentality performs voice calling over IP network.
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       https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US
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       https://www.cwpcollaboration.com/uploads/1/0/2/7/102707030/hcl_factory_tour_4_sametime_v11.pdf
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       https://help.hcltechsw.com/sametime/10.0/config/config_meet_props_proxy_av.html
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       https://help.hcltechsw.com/sametime/10.0/config/config_meet_props_mobile_android.html




       https://help.hcltechsw.com/sametime/10.0/plan/over_server_arch.html
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       https://www.routerfreak.com/how-voip-apps-skype-whatsapp-facebook-messenger-work/




       https://www.hcltechsw.com/wps/portal/legal/privacy
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                                          https://www.hcltechsw.com/wps/portal/legal/privacy

(e) in which the VoIP enabled             The system utilized by the accused instrumentality practices such that the VoIP enabled wireless device
wireless device registered to the         (e.g., a user device such as a smartphone enabled with Sametime smartphone application) registered to
server incorporates the software          the server (e.g., Sametime server) incorporates the software module (e.g., Sametime smartphone
module, which at certain time             application), which at certain time intervals (e.g., Sametime smartphone app polls the Sametime server
intervals authenticates and connects to   after regular intervals) authenticates and connects to the server (e.g., Sametime server) which is part of
the server which is part of the system,   the system.
and
                                          AS shown below, a user verifies its phone number with the system utilized by the accused
                                          instrumentality to access the service provided by the system. The system authenticates the user and
                                          connects the user to the Sametime server.
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       https://www.hcltechsw.com/products/sametime
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       https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US
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       https://help.hcltechsw.com/sametime/11.0.0/android/t_loggingin.html
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       https://help.hcltechsw.com/sametime/11.0.0/android/t_loggingin.html

       Upon information and belief, a user device enabled with Sametime smartphone application periodically
       re-engages with the Sametime server for any further updates. As shown below, an android application
       periodically authenticates a user device with the help of an account manager or toke, The Sametime
       smartphone server authenticates the user device enabled with Sametime smartphone application
       periodically.
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       https://books.google.co.in/books?id=K5aJCgAAQBAJ&pg=PT279&lpg=PT279#v=onepage&q&f=fals
       e
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       https://developer.android.com/training/efficient-downloads/regular_updates
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       https://firebase.google.com/docs/cloud-messaging/
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       https://developer.android.com/training/id-auth/identify
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       https://developer.android.com/reference/android/accounts/AccountManager
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(f) wherein a time between each time     The system utilized by the accused instrumentality practices such that a time between each time interval
interval of the registered VoIP          of the registered VoIP enabled wireless device (e.g., a user device such as a smartphone enabled with
enabled wireless device authenticating   Sametime smartphone application) authenticating and connecting with the server (e.g., Sametime
and connecting with the server is less   server) is less than a time allowed by the registered VoIP enabled wireless device (e.g., a user device
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than a time allowed by the registered such as a smartphone enabled with Sametime smartphone application) to receive a response from the
VoIP enabled wireless device to server (e.g., Sametime server).
receive a response from the server.
                                      When a user device such as a smartphone enabled with Sametime smartphone application, during a
                                      Sametime voice call, switches from cellular network to Wi-Fi network or vice versa, the IP address of
                                      the user device changes. The accused instrumentality provides seamless and smooth voice calling
                                      functionality even when the user device changes the network. The accused instrumentality must take
                                      less time to authenticate and connect the user device with a new IP address to the Sametime server than
                                      a time allowed by the user device to receive a voice calling response from the server to ensure no data
                                      packet loss.




                                       https://www.hcltechsw.com/products/sametime
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       https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en_US

       The accused instrumentality performs voice calling over IP network.
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       https://help.hcltechsw.com/sametime/10.0/config/config_meet_props_proxy_av.html
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       https://help.hcltechsw.com/sametime/10.0/config/config_meet_props_mobile_android.html

       As shown below, an exemplary application manages network connectivity.




       https://developer.android.com/reference/android/net/ConnectivityManager#EXTRA_IS_FAILOVER




       https://developer.android.com/reference/android/net/ConnectivityManager#EXTRA_IS_FAILOVER
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       https://developer.android.com/training/basics/network-ops/managing
